            Case 2:23-cv-00055-AM Document 5-2 Filed 10/27/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

 THE STATE OF TEXAS,                              §
                                                  §
           Plaintiff,                             §
                                                  §     CIVIL ACTION NO. 2:23-CV-00055-AM
 v.                                               §
                                                  §
 U.S. DEPARTMENT OF HOMELAND                      §
 SECURITY, et al.,                                §
                                                  §
           Defendants.

      [Proposed] Order Granting Emergency Application for a
      Temporary Restraining Order or Stay of Agency Action
        Before the Court is Plaintiff’s Emergency Application for a Temporary Restraining Order or

Stay of Agency Action (Dkt. 5). After considering the motion, any opposition, the record, and

relevant authorities, the Court hereby GRANTS the motion. Therefore, it is hereby ORDERED

that:

        Defendants, their respective officers, agents, servants, employees, and attorneys, and all

other persons who are in active concert with them are hereby ENJOINED and RESTRAINED

from cutting, destroying, damaging, or otherwise interfering with Texas’s concertina wire fencing.

Any requirement that Plaintiff give security is WAIVED. Fed. R. Civ. P. 65(c).

        It is also ORDERED that Defendants’ policy, pattern, or practice of cutting, destroying,

damaging, or otherwise interfering with Texas’s concertina wire fencing is STAYED.

        Unless modified by a subsequent order from this Court, this temporary restraining order

expires 14 days after its entry, and the stay shall remain in effect pending a final resolution of the

merits of this case or until a further order from this Court, the United States Court of Appeals for

the Fifth Circuit, or the United States Supreme Court.

          SIGNED on this the ______ day of ___________, 2023.

                                               __________________________________
                                               Hon. Alia Moses, United States District Judge
